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Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

YOWhLAGU
FORM TO BE USED IN FILING A COMPLAINT PI EVEAC
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

(Prisoner Complaint Form)

All materia! filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

       
 
  
 

  
 

  

   

 

 

   

A. Full Name And Prisoner Number of Plaintiff: NOTE: [fmore than one plaintiff fil seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed A E iif to be
considered will be the plaintiff who filed an application and Authorization. SO
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os STE ee, Wat

vs. OSSTE

B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.

The court may not consider a claim agains! anyone nol identified in this section as a defendant. If you have more than six defendants,
you may continue this section on another sheet of paper if you indicate below that you have done so.

 

 

 

 

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2. 5.
3. 6.

 

 

 

2. STATEMENT OF JURISDICTION

This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201.

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: To list additional plaintiffs, use this format on another sheet of paper.

Name and Prisoner Number of Plaintiff:

 

Present Place of Confinement & Address:

 

 

 

Name and Prisoner Number of Plaintiff:

 

Present Place of Confinement & Address:

 

 

 
 

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 17o list additional plaintiffs, use this format on another sheet of paper.
Name of First Plaintiff: JOSE p H. A. H ARRAS se Lith
Present Address: L/ Lil dps Sta Covey TAic 4 Court StReet
Geneseo, W¥. 14454

Name of Second Plaintiff: / VEME
Present Address: S/

 

 

 

DEFENDANT’S INFORMATION NOTE: 7o list additional defendants, use this format on another sheet of paper.
Name of First Defendant: Li Vin HOY SG) Coun ty

Official Position of Defendant (if relevant): Mens TAL Health 4 ‘Tare / Sh LK OF Lepl. s
Address of Defendant: (@ -Cougt stkeéd Goer Ment cod tea

Livin ys ten! Couw ey GenkSeo My 14154

 

 

 

 

 

 

Name of Second Defendant: Xm
Official Position of Defendant (if relevant):

Address of Defendant: NONE
Name of Third Defendant: ue
Official Position of Defendant (if relevant):

Address of Defendant: ile Ve

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

 

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes No

 

If Yes, complete the next section. NOTE: /f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

1. Name(s) of the parties to this other lawsuit:
fa 2
Plaintiff(s): Weve

 
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Defendant(s): /
2. Court (if federal court, name the district; if state court, name the county): x
WA Li Wi ALG S COW C COUMEY
3. Docket or Index Number: a
4. Name of Judge to whom case was assigned: Ae
5. The approximate date the action was filed: a
6. What was the disposition of the case?

Is it still pending? Yes No

If not, give the approximate date it was resolved. ~~
Disposition (check those statements which apply):
Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

plaintiff
defendant.

 

5. STATEMENT OF CLAIM

 

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

A. FIRST CLAIM: On (date of the incident)_Match dl-do
defendant (give the name and (if relevant) the position held of each defendant involved in this incident)

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did the following to me (briefly state what each defendant named above did): ha wiley Stow Cooney DF ULLey
Re Spon 5 ible fo£ Meni Genk, Que to Thiek Mental HEAT Dept. giliNineg Me. Pr DR
Called AEiV AN ey ‘Chu teolled Sumséivce’ ON 3 Jo -i3 THs AAS Caused Me Mh HARM
Both E.scaley + Mearauy, fo EEK Di fig 2 BRietiy r have. 6 Months of Kecseos? Datsrenbs FROH
LOM - Stree -9- (0-12 uaiti-3290-13 “Thode x , 5 S
“That Deove L.CAA fet Mein Danger ve My Life Due To Th
for my Sareay!

 
 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

To_bRing LiviNdeqSto Counéy To TusTice."' Ann ive thet pay fa
Wo of

 

 

 

 

 

 

 

B. SECOND CLAIM: On (date of the incident) A“ ,
defendant (give the name _and (if relevant) position held of each defendant involved in this incident)

a
did the following to me (briefly state what each defendant named above did): —

 

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AFiCR As MTR) That Heppawi -

 
 

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The federal basis for this claim is: /

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

 

 

zx ;
To BRina Tusfite. 70 LivingSt! COUVEY! yp
J J Y —

v4

ea |

If you have additional claims, use the above format to set them out on additional sheets of paper.

 

 

 
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6. SUMMARY OF RELIEF SOUGHT

 

Summarize the relief requested by you in each statement of claim above.

 

FOR Livin seqoton County To AY FoR what They Done}? Theres fO
Mount MF Money That’ wi/d Due!!, SoF have To Say what Sought oF
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C7
Do you want a jury trial? Yes ' No

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 5S ~ 8 ~ [ yf

(date)

NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.
x Tasch. A HARRIS 5577 22-68 “6993
eS} nen D.0OB  7-30-6S

 

 

Y Signature(s) of Plaintiff(s)

PATRICIAD. AVERY
Notary Public - State of New York. -
Qualified in Livingston County .-
Reg, No. O1AV6125624
My Commission Expires April 18, 20

 

 
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Failure by the writer to receive a written reply from you within the time frame indicated
above, with your intention of resolving this matter, the writer will take any and all actions

necessary for the commencement of legal proceedings in the courts of applicable
jurisdiction and

will be seeking costs against you in respect of same.

C) Ado wf f i Son RAAT
Yours very truly, pone Apo

fy /

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PATRICIA D. AVERY ©

Notary Public - State of New York
Qualified in Livingston County

Reg. No. oversee

Commission Expires Apel 18, 20,7 ‘7

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LETTER OF INTENT TO SUE

 

aes£PH .A HARRIS [NAME]
LCT - YCourt St GereSeo py [4459 [ADDRESS]
(58D) AI3-T/SO [TELEPHONE]

5-8-4 DATE]

 

 
 
 
  

AADDRESS]

Dav: I T. Moeris 2% |

6G COURT STReer ‘
GeNeSZo, NY i4ysy

Re: Livin He £0 Caoa/4f{SUBJECT OF PROSPECTIVE LAWSUIT}

LC Mental Health Dept / Leviton stay County Tas wh LIVINAEGSEON County SNe Ri fF hepr-
This Letter of Intent shall serve as your formal notice of the writer’s intent to commence
legal proceedings against you/your company in respect to the matter

y i Gene h Fiscal + Me, & [DESCRIPTION OF CONFLICT].

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In the event you wish to resolve and settle this matter prior to legal proceedings being

commenced against you, please contact the writer at the above address in writing within

Five [AMOUNT IN WORDS] (4 [AMOUNT IN NUMERALS]) business
days.

 
